IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TENNESSEE

NORTHERN DIVISION
JAMES ARTHUR, §
§
Plaintiff, § No.: 3:19-CV-249
§ Jury Trial Demanded
vs. §
§
NORFOLK SOUTHERN RAILWAY §
COMPANY, §
§
Defendant. §

STIPULATION OF DISMISSAL PURSUANT TO
RULE 41 OF THE FEDERAL RULES OF CIVIL PROCEDURE

Comes the Plaintiff and stipulates the dismissal of his Complaint against the Defendant
pursuant to Rule 41(a)(1)(a)(ii). This stipulation is intended to dismiss the Complaint against the
Defendant with full prejudice. By agreement, each party will be responsible for their own

discretionary costs.

ENTER this day of , 2020.

The Honorable Pamela L. Reeves
United States District Court Judge

APPROVED FOR ENTRY:
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